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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            CRTMTNAL NO. 18-CR-112-05 (TFH)



ERIC SCOTT,                                         VIOLATION:
                                                    2l u.s.c. s 846
                      Defendant.                    (Conspiracy to Distribute and Possess
                                                    with Intent to Distribute 100 Grams or
                                                    More of Actual Phencyclidine, One
                                                    Hundred Grams or More of a Mixture
                                                    and Substance Containing a
                                                    Detectable Amount of Phencyclidine,
                                                    One Hundred Grams or More of Heroin,
                                                    28 Grams or More of Cocaine Base,
                                                    and Cocaine)

                                                    FORFEITURE:
                                                    2l   U.S.C. $$ 8s3(a) and (p)

                                    INFORMATION
       The United States Affomey charges that:

                                         COUNT ONE

       Beginning in or about November 201 5, the exact date being unl<nown to the United States,

and continuing through at least December 2017, within the District of Columbia and elsewhere,

ERIC SCOTT, did knowingly and willfully combine, conspire, confederate and agree together

and with other persons both known and unknown to the United States, to unlawfully, knowingly,

and intentionally distribute and possess with intent to distribute one hundred grams or more     of

actual phencyclidine, also known as PCP, a Schedule II controlled substance, in violation of Title

21, United States Code, Sections 841(aX1) and       841(b)(   I   )(A)(iv); a mixture and substance

containing a detectable amount ofPCP, a Schedule II controlled substance, and the amount ofsaid

mixture and substance was one hundred grams or more, in violation of Title 21, United States

Code, Sections 841(a)(l) and 84 I (b)( 1 )(B)(iv); a mixture and substance containing a detectable

amount ofheroin, a Schedule I narcotic drug controlled substance, and the amount ofsaid mixture
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and substance was one hundred grams or more, in violation of Title 21, United States Code,

Sections 8a1(aXl) and 8al@)(1)(B)(i); a mixture and substance containing a detectable amount

of cocaine base, also known as crack, a Schedule II narcotic drug controlled substance, and the

amount of said mixture and substance was 28 grams or more, in violation of Title 21, United States

Code, Sections 8al(a)(l) and        8a I @)( I   )(BXiii); and a mixture and substance containing               a


detectable amount of cocaine, a Schedule          II narcotic drug controlled      substance,   in violation of

Title 21, United States Code, Sections 8a1(a)(1) and 841(b)(l )(C).

        (Conspiracy to Distribute and Possess with Intent to Distribute One Hundred Grams
        or More of Actual Phencyclidine, One Hundred Grams or More of a Mixture and
        Substance Containing a Detectable Amount of Phencyclidine, One Hundred Grams
        or More of Heroin, 28 Grams or More of Cocaine Base, and Cocaine, in violation of
        Title 2l, United States Code. Section 846)

                                   FORFEITURE ALLEGATION

        l.        Upon conviction of the offense alleged in Count One of this Information, the

defendant shall forfeit to the United Slates, pursuant to Title 21, United States Code, Section

853(a), any property constituting, or derived from, any proceeds obtained, directly or indirectly,

as the result   of this offense and any property used, or intended to be used, in any manner or part,

to commit, or to facilitate the commission of this offense. The United States will also seek a

forfeiture money judgment against the defendant equal to the value of any property constituting,

or derived from, any proceeds obtained, directly or indirectly, as the result of this offense.

        2.        If any of the property described above as being subject to forfeiture,         as a result   of
any act or omission ofthe defendant:

             a.   cannot be located upon the exercise of due diligence;

             b.   has been transferred or sold to, or deposited   with,   a   third party;


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           c.   has been placed beyond   thejurisdiction ofthe Court;

           d.   has been substantially diminished in value;   or

           e.   has been commingled   with other property that cannot be divided without difficulty;

the defendant shall forfeit to the United States any other property ofthe defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p).

       (Criminal Forfeiture, pusuant to Title 21, United      States Code, Sections 853(a) and (p))

                                              Respectfully submitted,

                                              JESSIE K. LIU
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